Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 1 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 2 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 3 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 4 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 5 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 6 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 7 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 8 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                         Main Document    Page 9 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                        Main Document     Page 10 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                        Main Document     Page 11 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                        Main Document     Page 12 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                        Main Document     Page 13 of 14
Case 8:21-bk-11710-SC   Doc 217 Filed 09/02/22 Entered 09/06/22 12:08:43   Desc
                        Main Document     Page 14 of 14
